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UNITED STATES DISTRICT COURT
for the
Middle District of Georgia

KENNETH JOHNSON and JACQUELYN )

JOHNSON, et al.,
Plaintiffs
v. ) Civil Action No. 7:16-CV-00141-WLS
BRANDON BELL, et al., )
Defendants. )

SUMMONS IN A CIVIL ACTION

To: CHRISTI GRIFFIN, Defendant
C/O JAMES ELLIOTT
ELLIOTT, BLACKBURN & GOODING, P.C.
3016 N. Patterson Street
Valdosta, GA 31603

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -— or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Chevene B. King, Jr.
P. O. Box 3468
Albany, GA 31706-3468

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date({!-It | lo

Signature of Clerk or Deputy Clerk

